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                              UNITED STATES DISTRICT COURT

                               MIDDLE DISTRICT OF LOUISIANA

ANDREW BABINSKI                                          NO.: 3:20-cv-426-SDD-EWD

VERSUS                                                   JUDGE: SHELLY DICK

TODD QUEEN, ET AL.                                       MAGISTRATE: ERIN WILDER-
                                                         DOOMES


                             REPLY IN SUPPORT OF DEFENDANTS’
                     MOTION TO DISMISS COMPLAINT PURSUANT TO RULE 12

           The remaining Defendants, Kristin Sosnowsky, Shannon Walsh, John Fletcher and Alan

Sikes, submit this Reply to Plaintiff’s Opposition to Defendants’ Motion to Dismiss Complaint

Pursuant to Rule 12 (Doc. 18).

     I.    Plaintiff’s Complaint Fails to Comply with the Federal Rules of Pleading

           Plaintiff’s Opposition begins by asking the Court for leave to amend the Complaint to the

extent it is inconsistent with the Opposition. 1 The Opposition includes numerous factual

allegations and claims for relief which are not in the Complaint. Plaintiff also incorrectly asserts

qualified immunity cannot be raised in a motion to dismiss and requests an opportunity to conduct

discovery to establish facts to support the legal conclusions in the Complaint. Defendants object

to Plaintiff’s reliance on facts in the Opposition which were not pled in the Complaint. Motions to

Dismiss pursuant to Rule 12 of the Federal Rules of Civil Procedure are decided on the face of the

Complaint. Further, Rule 12(b) motions are pre-pleading motions, required to be filed prior to

discovery, to defeat claims barred by sovereign and qualified immunity.




1
    Doc. 22, p. 2.

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II.     The Eleventh Amendment Bars Plaintiff’s Suit Against Defendants

        While Plaintiff claims his Complaint contains allegations against the Defendants in their

personal capacities 2, every allegation in the Complaint concerns actions taken in the Defendants’

official capacities. Accordingly, all damages claims against the Defendants are barred by sovereign

immunity.

        Plaintiff’s conclusion paragraphs 59-64 of the Complaint seek prospective relief and are

not barred by Eleventh Amendment sovereign immunity is erroneous. 3 In Pennhurst State School

& Hosp. v. Halderman, the United States Supreme Court declared:

                 The Eleventh Amendment bars a suit against state officials when the
                 state is the real, substantial party in interest. Thus, the general rule
                 is that relief sought nominally against an officer is in fact against the
                 sovereign if the decree would operate against the latter. 4

Plaintiff argues the exception to this general rule, established in Ex Parte Young, strips Defendants

of their official capacities. 5 For the Ex Parte Young doctrine to apply, three criteria must be

satisfied: (1) a plaintiff must name individual state officials as defendants in their official

capacities; (2) the plaintiff must allege an ongoing violation of federal law; and (3) the relief sought

must be properly characterized as prospective. 6 A plaintiff is required to show the allegedly

unconstitutional action was not a “one-time, past event” but an ongoing violation. 7

        Plaintiff “demands this Court enter a permanent injunction against Professor

Sosnowsky…mandating [his] reinstatement to the Program.” 8 Because such a mandatory


2
  Doc. 22, p. 4.
3
  Doc. 22, p. 4.
4
  465 U.S. 89, 100-01, 104 S. Ct. 900, 79 L.Ed.2d 67 (1984), superseded on other grounds, internal citations and
quotations omitted.
5
  Doc. 22, pp. 2-3, citing Ex parte Young, 209 U.S. 123, 28 S.Ct. 441, 52 L.Ed.2d 714 (1908).
6
  Green Valley Special Util. Dist. v. City of Schertz, Texas, 969 F.3d 460, 471 (5th Cir.2020).
7
  Cantu Servs., Inc. v. Roberie, 535 Fed.Appx. 342, 345 (5th Cir.2013).
8
  Doc.1, para. 60.

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injunction would operate against the State by requiring LSU to reinstate Plaintiff, it is barred by

sovereign immunity. Further, Plaintiff failed to allege an ongoing violation of federal law by

Sosnowsky. Rather, Plaintiff specifically claims the alleged de facto expulsion resulted from the

actions of the other Defendants. 9 Accordingly, the Ex Parte Young doctrine does not apply.

         Plaintiff “further demands this Court enter a permanent injunction against Professors

Walsh, Fletcher, Sikes, and Sosnowsky…enjoining them from further disseminating information

about this matter, including Babinski’s performative paper, and enjoining them from further

disparaging Babinski to other persons”. 10 Plaintiff specifically alleges “Professor Walsh forwarded

[his paper] to Professor Sosnowsky” who then “referred the paper to the LSU Police Department

and the LSU Office of Student Advocacy and Accountability…” 11 Additionally, Plaintiff alleges

Professor Walsh made statements to Professor Sosnowsky and to the Office of Student Advocacy

and Accountability regarding her impression of Plaintiff and his paper. 12 Neither of these claims

allege actions on the part of Professors Fletcher or Sikes, and therefore Plaintiff is not entitled to

the relief sought against them. Further, as to Professors Walsh and Sosnowsky, because these

claims do not allege ongoing violations but rather a “one-time, past event,” the Ex Parte Young

doctrine does not apply.

III.    Plaintiff has not stated a claim under the First Amendment
         Plaintiff asserts, “[i]n the absence of any contrary pronouncements by the U.S. Supreme

Court or the Fifth Circuit, Tinker/Burnside provide the standard by which Plaintiff’s claims must

be evaluated,” 13 while simultaneously conceding Defendants’ Memorandum cites three Supreme


9
  Doc. 1, paras. 35 and 36.
10
   Doc. 1, para. 61. While not stated in the Complaint, Plaintiff concedes the allegations set forth in paragraph 61 of
the Complaint are made against the Defendants in their official capacities. Doc. 22, Opposition, p. 4.
11
   Doc. 1, para. 24.
12
   Doc. 1, para. 25.
13
   Doc. 22, pp. 7-8, citing Tinker v. Des Moines Independent Community School District, 393 U.S. 503 (1969) and
Burnside v. Byars, 363 F. 2d 744 (5th Cir. 1966).

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Court cases post-Tinker, none of which employed the Tinker/Burnside analysis. 14 While Plaintiff

attempts to distinguish Bethel School Dist. No. 403 v. Fraser, decided in 1986, Hazelwood School

Dist. v. Kuhlmeier, decided in 1988, and Morse v. Frederick, decided in 2007, these cases simply

demonstrate the U.S. Supreme Court’s intent to limit the application and more narrowly tailor the

standards enunciated in Tinker/Burnside, both decided in the 1960s. 15

        Further, Plaintiff’s suit is analogous to Collins v. Putt, in which a college student alleged a

professor violated the First Amendment by removing a blog post written for a class assignment.16

For the reasons addressed in Defendants’ Memorandum, the Second Circuit Court of Appeals

upheld the district court’s dismissal of the student’s complaint. 17 Applying the Hazelwood

standard, the Second Circuit held the student’s speech made “specifically in response to a class

assignment, under the supervision of a college faculty member,” which failed to conform to the

assignment, was not protected speech. 18 Significantly, on March 1, 2021, the U.S. Supreme Court

denied the student’s petition for writ of certiorari. 19 Collins is consistent with Hazelwood. 20

        Additionally, Plaintiff’s reliance on Healy v. James and Papish v. Bd. of Curators of Univ.

of Missouri is misplaced. 21 In Healy, the U.S. Supreme Court addressed whether a state college’s

failure to officially recognize a local chapter of a student organization violated the students’ rights




14
   Doc. 22, p. 6.
15
   Bethel School Dist. No. 403 v. Fraser, 478 U.S. 675; 106 S.Ct. 3159, 3160; 92 L.Ed.2d 549 (1986); Hazelwood
School Dist. v. Kuhlmeier 484 U.S. 260; 108 S.Ct. 562, 564; 98 L.Ed.2d 592 (1988); and Morse v. Frederick, 551 U.S.
393, 394–95; 127 S.Ct. 2618, 2620–21; 168 L.Ed.2d 290 (2007).
16
   Collins v. Putt, 979 F.3d 128 (2d Cir.2020), cert. denied, 20-920, 2021 WL 769716; --- S.Ct. ---- (2021).
17
   Doc. 18-1, pp. 7-8 citing Collins v. Putt, 979 F.3d at 137.
18
   Collins, 979 F.3d at 134 and 136.
19
   Collins v. Putt, 20-920, 2021 WL 769716, at *1; --- S.Ct. ---- (2021).
20
   Hazelwood School Dist. v. Kuhlmeier 484 U.S. 260; 108 S.Ct. 562, 564; 98 L.Ed.2d 592 (1988).
21
   Doc. 22, p. 6, citing Healy v. James, 408 U.S. 169, 180; 92 S.Ct. 2338, 2340; 33 L.Ed.2d 266 (1972) and Papish v.
Bd. of Curators of Univ. of Missouri, 410 U.S. 667, 670; 93 S.Ct. 1197, 1197–98; 35 L.Ed.2d 618 (1973).

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to freedom of association, not freedom of speech. 22 Papish addressed a student’s distribution of a

newspaper owned by an independent company, not speech in the context of a course assignment. 23

        Further, contrary to Plaintiff’s assertions, his placement on academic probation,

ineligibility to remain a graduate assistant, and loss of his graduate assistant stipend, tuition waiver,

and non-resident fee waiver 24 are results of the failing grade he received for the paper which was

turned in late, incomplete, and failed to comply with the course assignment. 25 Plaintiff’s loss of

benefits was clearly not the result of any arbitrary act by any Defendant.

IV.     Continuing in a Graduate Program is not a Vested Property Right or Protected
        Liberty Interest
        Plaintiff asserts he has a protected property interest in the right to “maintain enrollment

and continue through an academic program toward graduation.” 26 In an attempt to overcome the

numerous cases to the contrary cited in Defendants’ Memorandum, Plaintiff asserts his enrollment

at LSU constitutes a contract. 27 In support, Plaintiff relies on Louisiana Civil Code articles

governing contract formation and conditional obligations. 28 However, Plaintiff fails to cite any

case law case supporting his allegation that the right to maintain enrollment in a particular program

constitutes a vested contractual property interest.

        Notably, the Fifth Circuit foreclosed this issue long ago, holding, “[e]ducation-particularly

post-graduate or professional education-is not a right afforded either explicit or implicit protection

under the Constitution.”29 In Barnes v. Symeonides, a law school student alleged deprivation of a


22
   Healy v. James, 408 U.S. 169, 181; 92 S.Ct. 2338, 2346; 33 L.Ed.2d 266 (1972).
23
   Papish v. Bd. of Curators of Univ. of Missouri, 410 U.S. 667, 667–68; 93 S.Ct. 1197, 1197–98; 35 L.Ed.2d 618
(1973).
24
   Doc. 22, p.11 and Doc. 1, para. 26.
25
   Doc. 22, p.11.
26
   Doc. 1, paras. 42 and 43.
27
   Doc. 22, p. 14.
28
   Doc. 22, pp. 14-15.
29
   Barnes v. Symeonides, 44 F.3d 1005, 1995 WL 10518 at p. 2 (5th Cir. 1995). See also San Antonio Indep. Sch. Dist.
v. Rodriguez, 411 U.S. 1; 93 S.Ct. 1278, 1297; 36 L.Ed.2d 16 (1973) (education, of course, is not among the rights
afforded explicit protection under our Federal Constitution).

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vested property interest in continued admission in law school. 30 Similar to Plaintiff’s claims, the

student in Barnes also characterized continued enrollment as a liberty interest. 31 The Fifth Circuit

acknowledged property interests are created by state statutes, but held it was unable to identify any

statutory authority supporting the student’s alleged property or liberty interests. 32 Plaintiff attempts

to distinguish Barnes based solely on the student’s nonpayment of tuition in that matter; 33

however, the Fifth Circuit expressly stated, “an interest in returning to law school…does not

constitute an interest subject to the protections of the Due Process Clause.” 34 Further, the Court

held:

                 There is not a violation of due process every time a university ...
                 [departs from or] violates its own rules. [U]nless the conduct
                 trespasses on federal constitutional safeguards, there is no
                 constitutional deprivation. Barnes has not demonstrated that the
                 defendants' conduct affected a constitutional right. 35

        Plaintiff erroneously relies on Bd. of Curators of Univ. of Missouri v. Horowitz for the

proposition that Courts assume a vested property interest in the education context. 36 In Horowitz,

the U.S. Supreme Court stated, “[t]o be entitled to the procedural protections of the Fourteenth

Amendment, respondent must in a case such as this demonstrate that her dismissal from the school

deprived her of either a ‘liberty’ or a ‘property’ interest. 37 The U.S. Supreme Court further

explained, there was no need to decide whether deprivation of a property or liberty interest

occurred when adequate due process was afforded. 38



30
   44 F.3d 1005, 1995 WL 10518 (5th Cir.1995).
31
    Doc. 22, pp. 17-18. Barnes v. Symeonides, 44 F.3d 1005, 1995 WL 10518 at p. 2 (5th Cir.1995).
32
   Barnes, 1995 WL 10518 at p. 3.
33
   Doc. 22, p. 16.
34
   Barnes, 1995 WL 10518 at p. 3.
35
   Id..
36
   435 U.S. 78; 98 S.Ct. 948; 55 L.Ed.2d 124 (1978).
37
   Bd. of Curators of Univ. of Missouri v. Horowitz, 435 U.S. 78; 98 S.Ct. 948, 951; 55 L.Ed.2d 124 (1978). Emphasis
added.
38
   Bd. of Curators of Univ. of Missouri v. Horowitz, 435 U.S. 78; 98 S.Ct. 948, 952; 55 L.Ed.2d 124 (1978).

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         Further, Plaintiff’s claim he was not afforded the “informal give and take,” which he is

entitled is unsupported by any factual allegation in the Complaint. 39 Plaintiff’s Complaint is devoid

of any claim he was not afforded an opportunity to appeal or address the failing grade in

accordance with the university’s policies and procedures.

         Finally, Plaintiff argues for the first time in his Opposition, he has a protected liberty

interest in his “good name, reputation, honor, and integrity” entitling him to due process.40

Specifically, Plaintiff alleges an unspecified Defendant discussed his academic progress and

performative paper with another person, and concludes the alleged communications automatically

constitute continued injury to his reputation and his liberty interests. 41 Such statement is clearly

insufficient to state a cause of action upon which relief may be granted.

V.       Plaintiff Failed to Plead Facts to Show he was a Class of One and Should not be
         Permitted to Amend His Petition to do so
         Plaintiff points to paragraph 18 of the Complaint to support the sufficiency of the alleged

equal protection violation based on disparate treatment of a class of one. He also relies on

paragraph 30 of the Complaint, wherein he alleged “he was misled and not given opportunities to

continue in the Ph.D. program even though other LSU students were given these opportunities.”42

Plaintiff actually alleged “Dean Queen … misled Babinski as to various university procedures in

furtherance of the determination that Babinski could not continue in the Program…” 43 Todd Queen

was dismissed from this suit on January 7, 2021. 44

         Plaintiff’s reliance on Village of Willowbrook v. Olech is also misplaced, as the complaint

therein included far more detail regarding the alleged disparate treatment than set forth in


39
   Doc. 22, pg. 15.
40
   Doc. 22, p. 17.
41
   Doc. 22, p. 17-18.
42
   Doc. 22, p. 18.
43
   Doc. 1, para. 30.
44
   Doc. 14.

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Plaintiff’s Complaint.45 Specifically, the complaint in Willowbrook alleged the defendant

intentionally demanded a 33–foot easement as a condition of connecting the plaintiff’s property to

the municipal water supply where the defendant required only a 15–foot easement from other

similarly situated property owners. 46 Plaintiffs’ Complaint lacks such specificity and Defendants

object to the additional factual assertions improperly contained in Plaintiff’s Opposition which

cannot be relied upon to overcome deficiencies in the Complaint. Further, Plaintiff’s claim that

certain allegations in the Opposition were not made in the Complaint to protect the identity of

certain persons is nonsensical as these new factual allegations still do not reveal the identity of any

individuals. 47

VI.     The Complaint does not State Facts Giving Rise to a Claim for Conspiracy
         Plaintiff relies on paragraphs 29-30 of the Complaint for the proposition the Complaint

alleges Defendants Walsh, Feltcher, and Sikes refused to “serve on [his] dissertation committee”

and “Defendant Sosnowsky participated and condoned” actions alleged on the part of Defendants

Walsh, Fletcher, and Sikes. However, both of these allegations are wholly absent from the

Complaint. 48 Additionally, Plaintiff’s Opposition contains a list of five ways he alleges Defendants

conspired against him, which is also noticeably absent from his Complaint. 49 The inclusion of

additional factual allegations in Plaintiff’s Opposition is improper and demonstrates the allegations

in the Complaint are insufficient to state a claim for which relief may be granted.




45
   528 U.S. 562. Notably, two of the three cases cited by Plaintiff, Sioux City Bridge Co. v. Dakota Cty., Neb., 260
U.S. 441 (1923) and Allegheny Pittsburg Coal Co. v. Comm’n of Webster Cty., 488 U.S. 336 (1989), involve disparate
property tax assessments, and were not before the Court on a Motion to Dismiss but rather on appeal after a final
judgment on the merits was rendered by the lower court.
46
   Willowbrook, 528 U.S. at 565.
47
   Doc. 22, pp. 18-19.
48
   Doc. 22, p. 19.
49
   Doc. 22, pp. 19-20.

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VII.     Alternatively, Plaintiff’s Claims are Barred by Qualified Immunity
         Plaintiff failed to establish his constitutional rights were violated or clearly established.

Accordingly, Plaintiff failed to demonstrate his claims against the Defendants in their personal

capacities, are not barred by qualified immunity. Throughout the Opposition, Plaintiff repeatedly,

yet incorrectly, asserts Defendants are unable to raise qualified immunity through a motion to

dismiss, but rather must raise the same as an affirmative defense. 50 In support of this proposition,

Plaintiff relies upon this Court’s recent decision in McNeal v. Louisiana Dep't of Pub. Safety &

Corr., in which this Court evaluated claims of lack of standing and prescription raised in a motion

to dismiss.51 McNeal does not stand for the proposition that qualified immunity cannot be raised

in a Motion to Dismiss.52 This Court found not only that the plaintiff lacked standing to pursue his

claims, 53 but also that “[a] statute of limitations may support dismissal under Rule 12(b)(6) where

it is evident from the plaintiff's pleadings that the action is barred...” 54

         Further, the U.S. Supreme Court held, “[q]ualified immunity is an immunity from suit

rather than a mere defense to liability.” 55 Accordingly, “[o]ne of the most salient benefits of

qualified immunity is protection from pretrial discovery, which is costly, time-consuming, and

intrusive.” 56 In Backe v. LeBlanc, the Fifth Circuit held although the lower court found it was

premature to address assertions of qualified immunity before discovery had taken place, “that




50
   Doc. 22, pp. 1, 2, 5, 9, 13, and 24.
51
   CV 20-312-JWD-EWD, 2021 WL 359737 (M.D. La. 2021).
52
   Plaintiff’s reliance on Siegert v. Gilley, 500 U.S. 226, 231; 111 S.Ct. 1789, 1793; 114 L.Ed.2d 277 (1991), is also
misplaced as Siegert analyzed a qualified immunity defense upon a motion for summary judgment. Further, the
Supreme Court upheld the lower court’s dismissal of the plaintiff’s suit because the plaintiff was unable to overcome
the defendant’s qualified immunity defense.
53
   Id at. P. 9.
54
   Id. at pp. 11-12.
55
   Pearson v. Callahan, 555 U.S. 223, 237, 129 S.Ct. 808, 818, 172 L.Ed.2d 565 (2009), internal quotations omitted.
56
    Backe v. LeBlanc, 691 F.3d 645, 648 (5th Cir.2012). citing Helton v. Clements, 787 F.2d 1016, 1017 (5th Cir.1986).

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is precisely the point of qualified immunity: to protect public officials from expensive, intrusive

discovery until and unless the requisite showing overcoming immunity is made.” 57

VIII. Conclusion
            Plaintiff requests leave of court to amend his Complaint at least seven times in the

Opposition. Further, Plaintiff requests this Court permit him an opportunity to conduct discovery

to establish facts to support the legal conclusions in the Complaint. Defendants urge this Court to

deny Plaintiff’s requests for leave to re-write his Complaint, and refuse his requests for discovery.

The Court should grant Defendants’ Motion to Dismiss Complaint Pursuant to Rule 12, with

prejudice at Plaintiff’s cost, for the reasons set forth in the Memorandum in Support thereof and

in this Reply Memorandum.

                                                    By Attorneys:

        CERTIFICATE OF SERVICE

    I hereby certify that on March 16,               /s/Sheri M. Morris
2021, a copy of the forgoing Reply                  Sheri M. Morris, LA Bar No. 20937
Memorandum in Support of Defendants’                Christina B. Peck, LA Bar No. 14302
Motion to Dismiss Complaint Pursuant to             Katelin Varnado, LA Bar No. 35498
Rule 12 was filed electronically with the           Special Assistants Attorney General
Clerk of Court using the CM/ECF system.             DAIGLE, FISSE & KESSENICH, PLC
                                                    8480 Bluebonnet Blvd., Suite F
     All counsel will be served through the         Baton Rouge, LA 70810
CM/ECF system. There are no non-CM/EC               Phone: (225) 421-1800 Fax: (225) 421-1792
participants                                        Email: SMorris@DaigleFisse.com
                                                           CPeck@DaigleFisse.com
                                                           KVarnado@DaigleFisse.com
                   /s/ Sheri M. Morris
                     Sheri M. Morris




57
     Id. at 648.



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